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UNITED STATES DISTRICT COURT 35 J;;»‘ l br mut '}: 53
WESTERN DISTRICT OF TENNESSEE vi 7
Western Division

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UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20212-1-Ma

DAVID PATTERSON

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Aecordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (lS U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
‘ The Federal Publie Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Mernphis, this l 3 day ofJune, 2005.

M

TU M. PHAM
UNITED S'I`ATES MAGISTRATE JUDGE

Copies fumished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
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DAVID PATTERSON

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Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-202]2 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

PDA

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Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

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Honorable Samuel Mays
US DISTRICT COURT

